IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INFORMATION
)
Plaintiff, | i 3 i
Vv. ) CASE NO.
) Title 21, United States Code,
NORAH FABEK, ) Sections 841(a)(1) and (b)(1)(C)
)
Defendant. )

count JUDGE BARKER

(Possession of a Controlled Substance With Intent to Distribute, in violation of 21 U .

§§ 841(a)(1) and (b)C1)(C))
The United States Attorney charges:
1. On or about October 11, 2018, in the Northern District of Ohio, Defendant NORAH
FABEK did knowingly and intentionally possess with intent to distribute approximately 5,862
grams of a mixture and substance containing a detectible amount of 3, 4-
Methylenedioxymethamphetamine (MDMA), a Schedule I controlled substance, in violation of
Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

| FORFEITURE

The United States Attorney further charges:
2. For the purpose of alleging forfeiture pursuant to Title 21, United States Code, Section
853, the allegations of count one are incorporated herein by reference. As a result of the
foregoing offense, Defendant NORAH FABEK shall forfeit to the United States any and all
property constituting, or derived from, any proceeds she obtained, directly or indirectly, as the

result of such violation; and any and all of her property used or intended to be used, in any

 
manner or part, to commit or facilitate the commission of such violation; including, but not

limited to the following:

a.)

$10,000.00 in U.S. Currency.

By:

JUSTIN E. HERDMAN
United States Attorney

  
   

ROBERT CORTS
Chief, OCDETF Unit
